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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                       HARRISONBURG DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )    Case No. 5-05-cr-00061-04
                                                    )
v.                                                  )            ORDER
                                                    )
JOSE ANTONIO CIPRIANO-VARGAS                        )    By: Glen E. Conrad
                                                    )    United States District Judge
                                                    )
             Defendant.

       It appearing that the magistrate judge has submitted a report and

recommendation that the defendant’s guilty plea be accepted; and it further appearing

that no objections have been filed to said report and recommendation; and it appearing

proper, it is ORDERED that said report and the findings and recommendation

contained therein are hereby accepted in whole and the defendant will be adjudged

guilty of each offense to which the defendant entered a guilty plea. Acceptance of the

plea agreement is deferred, pending completion of a presentence report.

       The Clerk is directed to send certified copies of this Order to all parties.

                                               ENTER: August 31, 2006

                                               s/ Glen E. Conrad
                                               United States District Judge
